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                UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


THOMAS C. HODGKINS, et al.,               )
     Plaintiffs,                          )
                                          )
                  v.                      )      CIVIL ACTION NO.3: 17-cv-30173-MGM
                                          )
GERALD MANN, et al.,                      )
     Defendants,                          )


                                   ORDER OF REMAND



MASTROIANNI, D.J.

   Pursuant to the court’s memorandum and order dated March 25, 2019 ordering that this case
be remanded to the Hampshire County Superior Court, it is hereby ordered that this case be
closed.

   It is so ordered.



Date:     March 25, 2019                       /s/ Mark G. Mastroianni
                                               U.S. District Court Judge
